           Case: 1:22-cv-04930 Document #: 9 Filed: 09/14/22 Page 1 of 2 PageID #:122

                                        United States District Court
                                        Northern District of Illinois

In the Matter of

  Automotive Keys Group, LLC                            District Judge Steven C. Seeger
                          v.                                       Case No. 22-CV-04930
                                                                     Designated Magistrate Judge
  Fidel Sanchez et al.                                                            Beth W. Jantz



                    TRANSFER OF CASE TO THE EXECUTIVE COMMITTEE
                                 FOR A REASSIGNMENT

   I recommend to the Executive Committee that the above captioned case be reassigned by lot
to another judge of this Court. The reasons for my recommendation are indicated on the reverse
of this form.




                                                   ________________________________
                                                           Judge Elaine E. Bucklo

Date: Wednesday, September 14, 2022



                                 ORDER OF THE EXECUTIVE COMMITTEE

   IT IS HEREBY ORDERED that the above captioned case be reassigned by lot to the calendar
of an individual judge of this Court in accordance with the Rules.


                                              ENTER

                                   FOR THE EXECUTIVE COMMITTEE




                                                   _____________________________________
                                                    Chief Judge Rebecca R. Pallmeyer
Dated:Wednesday, September 14, 2022

District Reassignment - By Lot
           Case: 1:22-cv-04930 Document #: 9 Filed: 09/14/22 Page 2 of 2 PageID #:123




- 28:294(b) I transfer this case to the Executive Committee for reassignment to another judge pursuant to
the provisions of 28 USC 294(b). The receiving judge will receive equalization credit.




EXCEPTIONS OR ADDITIONS:




District Reassignment - By Lot
